        Case: 23-10718       Document: 59      Page: 1     Date Filed: 07/25/2023




                                                         U.S. Department of Justice
                                                         Civil Division



VIA CM/ECF

                                                         July 25, 2023

Lyle W. Cayce, Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

RE: VanDerStok v. Garland (No. 23-10718) (oral argument ordered for the next
available argument calendar)

Dear Mr. Cayce:

       We respectfully write concerning the Court’s order of July 24, 2023, granting in
part and denying in part the government’s request for a stay pending appeal.

        The government’s motion requested (at 1) that, if the Court did not stay the
district court’s vacatur of the challenged regulation in full, the Court “enter an
administrative stay of at least ten days to permit the Supreme Court to consider an
application for a stay, should the Solicitor General elect to file one.” The end of the
Court’s order states that “[t]o allow time for additional proceedings as appropriate,
this order is administratively STAYED for 10 days.” Order at 4. It appears that the
Court may have intended to grant the government’s request to extend the district
court’s seven-day administrative stay of its vacatur order, thereby allowing all
provisions of the regulation to remain in effect for ten additional days. The
government respectfully notes, however, that the Court’s stay of its own order will not
have that effect. Instead, as currently phrased, the Court’s stay will mean that the
district court’s vacatur of the entire regulation will become effective when the district
court’s administrative stay expires at midnight tonight, and that this Court’s partial stay
of that vacatur as to the non-challenged portions of the regulation will not take effect
for ten days. If the Court instead intended to grant the alternative relief requested in
the government’s motion, it should enter an additional administrative stay of the
district court’s vacatur.
       Case: 23-10718      Document: 59     Page: 2   Date Filed: 07/25/2023




      Thank you for your attention to this matter.

                                       Sincerely,

                                       /s/ Sean R. Janda
                                       Sean R. Janda
                                       Attorney

cc:   all counsel (via CM/ECF)
        Case: 23-10718      Document: 59       Page: 3   Date Filed: 07/25/2023




                          CERTIFICATE OF SERVICE
      I hereby certify that on July 25, 2023, I electronically filed the foregoing with

the Clerk of the United States Court of Appeals for the Fifth Circuit by using the

appellate CM/ECF system. Participants in the case are registered CM/ECF users,

and service will be accomplished by the appellate CM/ECF system except for counsel

listed below, who will be served by US Mail:

      Dennis Daniels
      Bradley Arant Boult Cummings, L.L.P.
      1445 Ross Avenue, Suite 3600
      Fountain Place
      Dallas, TX 75202




                                                  /s/ Sean R. Janda
                                                 SEAN R. JANDA
